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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
6
7
8                                 UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                   )   Case No. 13-53 MCE
                                                 )
11                        Plaintiff,             )   STIPULATION AND ORDER TO CONTINUE
                                                 )   STATUS CONFERENCE TO NOVEMBER 14,
12         v.                                    )   2013, AT 9:00 A.M.
                                                 )
13   OMAR VERA, JOSE MORALES                     )   Date: October 10, 2013
     CASTELLON, JOSE ANAYA,                      )   Time: 9:00 a.m.
14   EDUARDO REYES,                              )   Judge: Honorable Morrison C. England, Jr.
                                                 )
15                        Defendant.             )
16
17          The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for October 10, 2013, at 9:00 a.m., to November 14, 2013, at 9:00 a.m.
19          Defense counsel require the continuance to consult with their clients about discovery, and
20   to conduct investigation. Defense counsel also require further time to meet and consult with
21   each other.
22          Counsel and the defendants agree that the Court should exclude the time from October
23   10, 2013, through November 14, 2013, when it computes the time within which trial must
24   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
25   ///
26   ///
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1             Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: October 8, 2013                        HEATHER E. WILLIAMS
                                                   Federal Defender
5
                                                   /s/ M.Petrik__________
6                                                  MICHAEL PETRIK, Jr.
7                                                  Assistant Federal Defender
                                                   Attorneys for Mr. Vera
8
9    DATED: October 8, 2013
10
                                                   /s/ M.Petrik for_______
11                                                 KYLE RODGER KNAPP
                                                   Attorney for Mr. Castellon
12
13   DATED: October 8, 2013
14
                                                   /s/ M.Petrik for_______
15                                                 MICHAEL E. HANSEN
                                                   Attorney for Mr. Anaya
16
17   DATED: October 8, 2013
18
                                                   /s/ M.Petrik for_______
19                                                 RONALD JAMES PETERS
                                                   Attorney for Mr. Reyes
20
21
     DATED: October 8, 2013                        BENJAMIN B. WAGNER
22                                                 United States Attorney

23                                                 /s/ M.Petrik for_______
                                                   JASON HITT
24                                                 Assistant U.S. Attorney
25
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1                                                ORDER
2           The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8           The Court orders the status conference rescheduled for November 14, 2013, at 9:00 a.m.
9    The Court orders the time from the date of the parties stipulation, up to and including November
10   14, 2013, excluded from computation of time within which the trial of this case must commence
11   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12          IT IS SO ORDERED.
     Dated: October 9, 2013
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